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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA


Preston Byron Knapp,                               Case No: 0:24-cv-00434 (DWF/ECW)

              Plaintiff,
                                                    DEFENDANT WINGS FINANCIAL
vs.                                                        CREDIT UNION’S
                                                       MEMORANDUM OF LAW IN
Wings Credit Union; AKA Wings Financial               OPPOSITION TO PLAINTIFF’S
Credit Union,                                       MOTION FOR LEAVE TO AMEND
                                                     PLAINTIFF’S COMPLAINT FOR
              Defendant.                                      DAMAGES

       Defendant Wings Financial Credit Union (“Wings”) respectfully requests this Court

deny Plaintiff’s Motion for Leave to Amend Plaintiff’s Complaint for Damages (“Motion

to Amend”) because Plaintiff’s Motion to Amend violates this Court’s April 19, 2024

Order to not file any additional motions and because the motion is futile.1

                              FACTUAL BACKGROUND

           A. Plaintiff’s Complaint

       Plaintiff’s proposed Amended Complaint contains no material changes to the

allegations contained in the first 66 paragraphs of the Complaint. Accordingly, Wings

largely re-states its recitation of the facts from its Memorandum of Law in Support of




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         Wings has no intention to violate this Court’s April 19, 2024 Order that the parties’
not file any additional motions, and it files this Memorandum solely in response to
Plaintiff’s Motion to Amend which Plaintiff filed in violation of that Order. See Doc. No.
29. Wings’ position is this Court should deny Plaintiff’s Motion to Amend solely on the
grounds that it violates this Court’s Order, without addressing the merits of Plaintiff’s
Motion. Out of an abundance of caution, Wings also addresses the substantive deficiencies
in Plaintiff’s Motion, if the Court chooses to consider Plaintiff’s Motion on the merits.
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Defendant’s Motion to Dismiss herein to provide background to the present motion and for

ease of the Court’s reference. These facts are based on the allegations in the Complaint,

Doc. No. 1, and the Declaration of Tessa Mansfield Hirte (“Hirte Decl.”) and attached

documents. See Doc. No. 10.

       Wings is a state-chartered credit union organized pursuant to Chapter 52 of

Minnesota Statutes. Plaintiff Preston Byron Knapp and his wife, non-party Michelle

Nichole Knapp, have a mortgage loan with Wings (the “Mortgage”), and a HELOC with

Wings (the “HELOC”). (Compl. ¶¶ 10–11, Doc. No. 1; Declaration of Tessa Mansfield

Hirte (“Hirte Decl.”), Ex. 1 (Mortgage); Ex. 2 (Note); Ex. 3 (Revolving Credit Mortgage);

Ex. 4 (Open-End Home Equity Credit Agreement and Truth in Lending Disclosure).

       Under the terms of Plaintiff’s Mortgage and HELOC, he is required to make

payments on the loans when due. See Hirte Decl. Ex. 2, at 1 (“In return for a loan that I

have received, I promise to pay U.S. $1,119,400.00 (this account is called ‘Principal’), plus

interest, to the order of the Lender.”); Hirte Decl. Ex. 1, at 2–3 (agreeing to “pay when due

the principal of, and interest on, the debt evidenced by the Note”); Hirte Decl. Ex. 3, at 2

(“Borrower shall promptly pay when due all amounts borrowed under the Credit

Agreement, all finance charges and applicable other charges and collection costs as

provided in Credit Agreement.”); Hirte Decl. Ex. 4, at 1 (“You promise to repay to the

Credit Union, or order, all advances made to you under this Plan, plus finance charges,

other applicable charges, and costs of voluntary payment protection for which you are

responsible for under this Plan.”). Plaintiff further agreed to make all payments under the




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Mortgage “in the form of cash, check or money order” and “in U.S. currency.” Hirte Decl.

Ex. 2, at 1; Ex. 1, at 3.

       In November of 2023, Plaintiff signed a document appointing Brandon Joe Williams

(“Williams”) as his “attorney-in-fact” and purporting to grant Williams the power to

“[p]erform any act necessary to deposit, negotiate, sell or transfer any note, real estate,

security, or draft of the United States of America, including U.S. Treasury Securities. This

includes any non-US notes, securities, drafts, etc. This includes indorsements, approvals,

exchanges, etc.” See Compl. ¶¶ 39, 43; see also Hirte Decl. Ex. 5, Documents Received

from Williams January 11, 2024, at 6–17.

       In January of 2024, Williams sent “orders” to Wings related to Plaintiff’s mortgage

loan and HELOC. See Compl. ¶¶ 39–40; Hirte Decl. Ex. 5. Plaintiff alleges these “orders”

included at “unconditional tender of payment in accordance with UCC 3-603,” “a payment

for US dollars,” and “an unconditional order to pay.” Id. ¶¶ 47, 49–50. The Complaint also

alleges that Plaintiff “submitted another entire promissory note in order to perform on the

mortgage.” Id. ¶ 60. Plaintiff’s theory appears to be that, by signing the documents included

in the “orders” with a “special indorsement,” he converted the documents to “negotiable

instruments” which constitute “payment in US dollars” and thereby satisfy Plaintiff’s loans

with Wings. See id. ¶¶ 15, 49, 74–75.

       Plaintiff’s Complaint asserts state-law claims for breach of contract (Count 1) and

breach of fiduciary duties (Count 2), and federal claims for violation of 12 U.S.C. § 504

(Count 3), violation of securities-related criminal statutes (Counts 4–6), and violations of




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Chapter 77 of Title 18 related to peonage, slavery, and trafficking in persons (Counts 7–

11). See Compl.

       Plaintiff and his wife have also commenced a separate lawsuit in the District of

Minnesota against Compass Minnesota, LLC and Daniel Phillip Hollerman, their real

estate broker and agent, asserting similar claims to those asserted here. See Knapp v.

Compass Minnesota, LLC, No. 24-cv-00100-SRN-DTS (D. Minn.).

          B. Relevant Court Orders

       Since Wings filed its Motion to Dismiss back in March, two orders have been issued

that are relevant to the present motion. First, this Court issued the following text order on

April 19, 2024:

              The Court has reviewed the pending motions filed in this case.
              These include motions filed at Doc. Nos. [7], [13], [16], and
              [24]. It appears that all motions, with the exception of
              Defendant's Motion for Sanctions at Doc. No. [24], are fully
              briefed and ready for the Court's consideration. The Court will
              permit Plaintiff to file a response to Defendant's motion for
              sanctions. Once that motion is fully briefed, the Court will take
              all pending matters under advisement and will rule on the
              papers, without oral argument. With the exception of Plaintiff's
              response brief noted above, the parties shall refrain from filing
              any additional motions until the Court rules on the motions
              presently on the docket.

Doc. No. 29 (emphasis added).

       Second, the court recently dismissed Plaintiff’s other lawsuit, with prejudice. See

Knapp v. Compass Minn., LLC, No. 24-cv-00100 (SRN-DTS), 2024 U.S. Dist. LEXIS

98771, at *30 (D. Minn. June 4, 2024). In a detailed and well-reasoned opinion, Judge




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Susan Richard Nelson rejected similar claims brought by Plaintiff and his wife against their

real estate broker and agent, dismissing those claims with prejudice. See id.

          C. Plaintiff’s Proposed Amended Complaint

       Plaintiff’s proposed Amended Complaint makes the following changes to Plaintiff’s

Complaint:

          1) Changes the term “special indorsement” to “qualified/special indorsement.”

              See Doc. No. 31-1, ¶¶ 16–17, 19, 63, 78–79, 100, 102, and 104.

          2) Alters the language used in the incorporation by reference paragraphs at the

              beginning of each count. See, e.g., Doc. No. 31-1, ¶ 67.

          3) Adds an allegation to the breach of fiduciary duties claim that Wings “is not

              a ‘lender’ after rescission of the blank indorsement was completed and the

              qualified/special indorsement replaced it. Any statements that a ‘lender’ does

              not have a fiduciary responsibility are irrelevant.” See Doc. No. 31-1, ¶ 68.

          4) Removes the initial Count 3, based on 12 U.S.C. § 504.

          5) Relabels the initial Count 4, 18 U.S.C. § 1956 (Laundering of Monetary

              Instruments), and the initial Count 5, 18 U.S.C. § 2314 (Transportation of

              Stolen Securities), as a claim for money had and received with the same

              conspiracy-based allegations as before. Compare Doc. No. 1, ¶¶ 85–87, 89–

              92, with Doc. No. 31-1, ¶¶ 83–89. The only changes to the prior allegations

              is to add an allegation that further confirms the conspiracy-based nature of

              the claim, see Doc. No. 31-1, ¶ 87 (asserting that “transportation . . . under

              special negotiation . . . would have allowed for Preston Byron Knapp to


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      benefit from the funds he created. Instead, those funds were carefully taken

      under coercion”), and to change the word “felony” to “claim,” see id., ¶ 88.

   6) Relabels the initial Count 6 based on 18 U.S.C. § 1348 (Securities and

      Commodities Fraud) as a claim for common law fraud. Compare Doc. No.

      1, ¶¶ 94–101, with Doc. No. 31-1, ¶¶ 91–89. The only change to the

      allegations is swapping the word “felony” with the word “claim.” See Doc.

      No. 31-1, ¶ 98.

   7) Relabels the initial Count 7, based on 18 U.S.C. § 1581 (Peonage), as a claim

      based on 42 U.S.C. § 1994 (Peonage), incorporating two allegations under

      the initial Count 8, based on 18 U.S.C. § 1583 (Enticement into Slavery).

      Compare Doc. No. 1, ¶¶ 103–06, 108–09, with Doc. No. 31-1, ¶¶ 100–05.

      The only change to the allegations is swapping the word “(slavery)” with

      “This is peonage.” See Doc. No. 31-1, ¶ 105.

   8) Relabels the initial Count 8, based on 18 U.S.C. § 1583 (Enticement into

      Slavery), the initial Count 9, based on 18 U.S.C. § 1584 (Sale into

      Involuntary Servitude), and the initial Count 10, based on 18 U.S.C. § 1589

      (Forced Labor), as a claim for unlawful conversion. Compare Doc. No. 1,

      ¶¶ 110–12, 114–19, 122–25, with Doc. No. 31-1, ¶¶ 106–18. The only

      change to the allegations is in paragraph 112, which now alleges that: “While

      not originally legally theft, that transaction was not equal consideration. Now

      that the blank indorsement has gone through rescission, these negotiable




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               instruments are now stolen.” See Doc. No. 31-1, ¶ 112 (additions are

               underlined).

            9) Relabels the initial Count 11, based on 18 U.S.C. § 1593A (Benefitting

               Financially from Peonage, Slavery, and Trafficking in Persons), as a claim

               for unjust enrichment. Compare Doc. No. 1, ¶¶ 128–32, with Doc. No. 31-1,

               ¶¶ 120–24. The only changes to the allegations are to add “unknowingly”

               before “released with a blank indorsement,” compare Doc. No. 1, ¶ 129, with

               Doc. No. 31-1, ¶ 121, and make to changes to paragraph 124 so it now reads:

               “Due to lack of terms and communications, it is assumed that WINGS

               intends to entice its beneficiaries into peonage for financial gain by having

               them fund their own loans,” compare Doc. No. 1, ¶ 132, with Doc. No. 31-

               1, ¶ 124 (additions/changes underlined).

       For the reasons detailed below, all of these proposed amendments are futile.

                                       ARGUMENT

       I.      Plaintiff’s Motion Violates this Court’s April 19, 2024 Order.

       First, and most importantly, two months ago this Court ordered the parties to

“refrain from filing any additional motions until the Court rules on the motions presently

on the docket.” Doc. No. 29; cf. Clinton v. Jones, 520 U.S. 681, 706, 117 S. Ct. 1636, 1650

(1997) (“The District Court has broad discretion to stay proceedings as an incident to its

power to control its own docket.”); Roehrs v. Walstrom, No. 0:23-cv-01885-SRN-DLM,

2024 U.S. Dist. LEXIS 102, at *12 (D. Minn. Jan. 2, 2024) (“District courts have this

inherent authority to temporarily stay cases as part of their power to control the disposition


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of the causes on its docket with economy of time and effort for itself, for counsel, and for

litigants.” (quotation omitted)). Plaintiff’s Motion to Amend violates this Order, without

providing any justification for the violation or even an acknowledgement of this Court’s

prior order. Plaintiff’s Motion to Amend should be denied on that basis alone.

          II.   Plaintiff’s Motion to Amend is Futile.

          Moreover, Plaintiff’s Motion to Amend is futile because none of the changes in the

proposed Amended Complaint fix any of the fatal flaws already articulated in Wing’s

briefing in support of its Motion to Dismiss and Motion for Sanctions. See Doc Nos. 9, 26.

Federal Rule of Civil Procedure 15(a) provides that leave to amend a complaint should be

given freely “when justice so requires.” However, “a party is not entitled to amend a

complaint without making a showing that such an amendment would be able to save an

otherwise meritless claim. A district court thus may deny a motion to amend a complaint

when such an amendment would be futile.” Plymouth Cty. v. Merscorp, Inc., 774 F.3d

1155, 1160 (8th Cir. 2014) (citation omitted). Here, Plaintiff’s motion papers offer no

explanation for how the proposed Amended Complaint “would be able to save an otherwise

meritless claim,” and an examination of the proposed changes fails to reveal any viable

legal theory. See id. Accordingly, this Court should deny Plaintiff’s Motion to Amend as

futile.

          1. Changing Special Indorsement to Qualified/Special Indorsement.

          In a number of paragraphs, Plaintiff’s proposed Amended Complaint changes the

term “special indorsement” to “qualified/special indorsement.” See Doc. No. 31-1, ¶¶ 16–

17, 19, 63, 78–79, 100, 102, and 104. Regardless of how Plaintiff phrases the term, his


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underlying theory remains the same—that by sending Wings documents containing his

signature and specific language, he can then convert various documents, including the

notes underlying the Mortgage and HELOC, an additional “promissory note” he created,

and the monthly billing statements sent by Wings (which he claims are “bills of exchange”)

into “negotiable instruments,” which he can then use as payments to satisfy his debts to

Wings.2 See Doc. No. 31-1 ¶¶ 23, 30–34. As Wings explained in briefing on its prior

motions, Plaintiff’s claims are based on a theory often referred to as the “vapor money”

theory, and federal courts have widely and universally rejected the theories underlying

Plaintiff’s allegations for decades. See Doc. No. 9 at 5–8; Doc. No. 26 at 5–9.

       2. Incorporation Paragraphs.

       While Plaintiff has changed the language at the beginning of each claim to

incorporate the prior allegations by reference, there is no credible argument that such




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  In Plaintiff’s version of this conspiracy theory, he appears to assert that Wings exchanged
the original loan documents he signed for Federal Reserve Notes (i.e., paper US currency)
pursuant to 12 U.S.C. § 412, and that by sending Wings “orders” with his signature and a
“special indorsement” those Federal Reserve Notes are then used to payoff his loans. See
Doc. 31-1, ¶ 15 (“Proper performance would have been to indorse the original collateral
securities under special negotiation, prior to them being exchanged for Federal Reserve
Notes.”); id. ¶ 49 (“Due to the original application having already been swapped for
Federal Reserve Notes after the application was indorsed with a blank indorsement, the
orders inside the parcel were a payment for US dollars.”); see also id. ¶¶ 29, 75. In addition
to being based on conspiracy theories universally rejected by the federal courts, the
underlying premise that Wings can obtain Federal Reserve Notes pursuant to 12 U.S.C. §
412 is false. Section 412 requires that an application for Federal Reserve Notes be made
by a “Federal Reserve bank.” Clearly, Wings is not a “Federal Reserve bank,” and thus
Section 412 is inapplicable to it. See, e.g., 12 U.S.C. § 225 (requiring federal reserve banks
to “include in its title the name of the city in which it is situated, as ‘Federal Reserve Bank
of Chicago’”).

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language has any relevant legal difference. Compare Doc. No. 1, ¶ 55, with Doc. No. 31-

1, ¶ 55.

       3. Changes to Count 2 – Breach of Fiduciary Duty.

       The new allegation in Count 2, a claim for breach of fiduciary duty, is non-sensical

and does not alter the legal analysis in Wing’s prior briefing that, as a matter of law, Wings

does not owe Plaintiff fiduciary duties.

       Plaintiff now asserts that Wings “is not a ‘lender’ after rescission of the blank

indorsement was completed and the qualified/special indorsement replaced it. Any

statements that a ‘lender’ does not have a fiduciary responsibility are irrelevant.” See Doc.

No. 31-1, ¶ 68. First, it is it plain from the legal documents Plaintiff and his wife signed

that Wings is, in fact, the lender in the parties’ contractual relationship, and Plaintiff cannot

alter that legal conclusion in contravention of the plain language of the parties’ contracts.

See Doc. No. 10-2, at 1 (“In return for a loan that I have received, I promise to pay U.S.

$1,119,400.00 (this account is called ‘Principal’), plus interest, to the order of the

Lender.”); Doc. No. 10-1, at 2–3 (agreeing to “pay when due the principal of, and interest

on, the debt evidenced by the Note”); Doc. No. 10-3, at 2 (“Borrower shall promptly pay

when due all amounts borrowed under the Credit Agreement, all finance charges and

applicable other charges and collection costs as provided in Credit Agreement.”); Doc. No.

10-4, at 1 (“You promise to repay to the Credit Union, or order, all advances made to you

under this Plan, plus finance charges, other applicable charges, and costs of voluntary

payment protection for which you are responsible for under this Plan.”); see also doc. No.

31-1, ¶¶ 10–11 (alleging Plaintiff has a loan and HELOC with Wings).


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       Second, Wings argument in its Motion to Dismiss briefing is that Wings relationship

with Plaintiff is contractual, not fiduciary, which is supported by federal interpretations of

Minnesota state law. See Roers v. Countrywide Home Loans, Inc., 728 F.3d 832, 838 (8th

Cir. 2013) (“The general rule in Minnesota is that lenders bear no fiduciary duty to

borrowers.” (quotation omitted)); Impulse Trading v. Norwest Bank Minn., N.A., 870 F.

Supp. 954, 961 (D. Minn. 1994) (“The relationship between a bank and its customer is one

of debtor and creditor, with the customer as the creditor and the bank the debtor. This

relationship is not one of agent and principle and therefore does not give rise to a fiduciary

relationship.” (citation omitted)). Finally, the proposed Amended Complaint, as with the

Complaint, fails to identify actions that would constitute a breach of fiduciary duties. See

Doc. No. 9 at 12.

       4. Dropping Count 3 – 12 U.S.C. § 504.

       While Plaintiff removed his explicit claim for relief under 12 U.S.C. § 504, his

proposed Amended Complaint is still based on the meritless conspiracy theory that he can

effectively create money from nothing. See, e.g., Doc. No. 31-1, ¶ 87 (alleging that a

“transportation . . . under special negotiation . . . would have allowed for Preston Byron

Knapp to benefit from the funds he created”). Dropping this particular claim does not,

therefore, salvage an otherwise meritless Complaint.

       5. Adding a Claim for Money Had and Received (Count 3 in the proposed
          Amended Complaint).

       Next, Plaintiff relabels his initial Count 4, 18 U.S.C. § 1956 (Laundering of

Monetary Instruments), and initial Count 5, 18 U.S.C. § 2314 (Transportation of Stolen



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Securities), as a claim for money had and received, while retaining the same conspiracy-

based allegations as before. Compare Doc. 1, ¶¶ 85–87, 89–92, with Doc. 31-1, ¶¶ 83–89.

The only changes to the prior allegations is to add an allegation that further confirms the

conspiracy-based nature of the claim, see Doc. 31-1, ¶ 87 (asserting that “transportation . .

. under special negotiation . . . would have allowed for Preston Byron Knapp to benefit

from the funds he created. Instead, those funds were carefully taken under coercion”), and

to change the word “felony” to “claim,” see id., ¶ 88.

       As the Minnesota Supreme Court has explained, money had and received is the

historical antecedent of an unjust enrichment claim, both of which are equitable claims.

See Herlache v. Rucks, 990 N.W.2d 443, 450 (Minn. 2023). “The theory of . . . money had

and received has salutary and beneficial uses and has been invoked in support of claims

based upon failure of consideration, fraud, mistake, and in other situations where it would

be morally wrong for one party to enrich himself at the expense of another.” Cady v. Bush,

166 N.W.2d 358, 361–62 (Minn. 1969). However, the principles of money had and

received “should not be invoked merely because a party has made a bad bargain.” Id. And,

“[c]ourts are not warranted in interfering with the contract rights of parties as evidenced by

their writings which purport to express their full agreement.” Id. at 362. Key here, it is not

“within the province of equity to rewrite or abrogate contracts to protect parties from

consequences which are attendant upon their voluntary abandonment of a contract, the

consequences of which abandonment were reasonably foreseeable when the contractual

obligations were assumed.” Id.




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       Plaintiff’s proposed amendment to add a claim for money had and received is futile

for two main reasons. First, as is evident from the allegations in the proposed Amended

Complaint, it is based on the same baseless conspiracy theory that was recently rejected as

to Knapp and his wife in Compass and has been resoundingly rejected by the federal courts.

See, e.g., McLaughlin v. CitiMortgage, Inc., 726 F. Supp. 2d 201, 214 (D. Conn. 2010)

(rejecting plaintiff’s claims under the “Redemptionist” theory, the “vapor money” theory;

and the “unlawful money” theory, and noting “all three of these theories have been

universally and emphatically rejected by numerous federal courts for at least the last 25

years”); see also Doc. No. 9 at 5–8; Doc. No. 26 at 5–9. Second, the relationship between

Plaintiff and Wings is governed by the contracts he and his wife signed, and there can be

no claim for equitable relief where the parties’ rights and duties are delineated by contract.

See Caldas v. Affordable Granite & Stone, Inc., 820 N.W.2d 826, 838 (Minn. 2012)

(explaining that unjust enrichment “does not apply when there is an enforceable contract

that is applicable”).

       6. Relabels the Initial Count 6 (18 U.S.C. § 1348 – Securities and Commodities
          Fraud) as a Common Law Fraud Claim (Count 4 in the proposed Amended
          Complaint).

       Plaintiffs next change is to relabel his initial Count 6, which is based on 18 U.S.C.

§ 1348 (Securities and Commodities Fraud), as a claim for common law fraud. Compare

Doc. 1, ¶¶ 94–101, with Doc. 31-1, ¶¶ 91–89. The only change to the allegations is

swapping the word “felony” with the word “claim.” See Doc. 31-1, ¶ 98.

       Plaintiff’s current iteration of his fraud claim fails for the same reasons his initial

attempt at a fraud claim failed. In addition to being based on widely rejected conspiracy


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theories, it is not pleaded with the particularity required by Fed. R. Civ. P. 9(b). When

alleging fraud or mistake, a plaintiff must “state with particularity the circumstances

constituting fraud or mistake.” Fed. R. Civ. P. 9(b). “The complaint must plead such

matters as the time, place and contents of false representations, as well as the identity of

the person making the misrepresentation and what was obtained or given up thereby.”

Ambassador Press, Inc. v. Durst Image Tech. U.S., LLC, 949 F.3d 417, 421 (8th Cir. 2020).

       Here, Plaintiff’s only assertion of fraud is that fraud resulted “due to complete

failure to disclose the terms and options of signing/indorsing above collateral securities.”

Doc. No. 31-1, ¶ 95. Plaintiff’s cursory assertion of fraud is not pleaded with sufficient

particularity to comply with requirements of the federal rules—it does not identify the time,

place, or contents of the misrepresentation, or the identity of the person making it.

Plaintiff’s relabeled fraud claim is thus futile as it fails to remedy the deficits in his initial

version of the claim.

       7. Changes the Statutory Basis for the Initial Count 7 for Peonage From 18
          U.S.C. § 1581 to 42 U.S.C. § 1994 (Count 5 in the proposed Amended
          Complaint).

       Next, Plaintiff relabels his initial Count 7, based on 18 U.S.C. § 1581 (Peonage), as

a claim based on 42 U.S.C. § 1994 (Peonage), incorporating two allegations under the

initial Count 8, based on 18 U.S.C. § 1583 (Enticement into Slavery). Compare Doc. 1,

¶¶ 103–06, 108–09, with Doc. 31-1, ¶¶ 100–05. The only change to the allegations is

swapping the word “(slavery)” with “This is peonage.” See Doc. 31-1, ¶ 105.




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       Altering which statute Plaintiff relies on to assert a claim for peonage does not alter

the underlying flaw with the claim—that none of the facts alleged bear any logical

connection to a claim for peonage.

              Peonage is ‘compulsory service in payment of a debt’” and
              “‘compulsory service’ is the equivalent of ‘involuntary
              servitude’, which the Supreme Court has defined as ‘a
              condition of servitude in which the victim is forced to work for
              the defendant by the use or threat of physical restraint or
              physical injury, or by the use or threat of coercion through law
              or the legal process.’

United States v. Farrell, 563 F.3d 364, 372 (8th Cir. 2009) (quoting Bailey v. Alabama,

219 U.S. 219, 242 (1911)) (cleaned up) (noting that threatening to put workers who “run

away” in a balikbayan box and ship them back to the Philippines was a threat of physical

force). Plaintiff’s allegations do not state a claim for peonage.

       Plaintiff alleges that he is subject to peonage because he has to work in order to pay

back the loans he obtained from Wings and feared losing his home if he failed to make

payments on the loans. See Doc. No. 31-1, ¶¶ 100, 104–05; see also id. ¶¶ 108, 114–15,

118, 122. Such allegations are wholly inadequate to state a claim for peonage, as the Ninth

Circuit has explained:

              We recognize that economic necessity may force persons to
              accept jobs that they would prefer not to perform or to work
              for wages they would prefer not to work for. Such persons may
              feel coerced into laboring at those jobs. That coercion,
              however, results from societal conditions and not from the
              employer’s conduct. Only improper or wrongful conduct on
              the part of an employer subjects him to prosecution. To
              illustrate this point further, an employer who truthfully informs
              an individual that there are no other available jobs in the
              market, merely provides an opportunity for a person to work
              for low wages, or simply takes advantage of circumstances


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              created by others is not guilty of an offense. An employer who
              has not engaged in improper or wrongful conduct has not
              violated the law.

Mussry, 726 F.2d at 1453; see also Heart of Atlanta Motel v. United States, 379 U.S. 241,

244, 261 (1964) (rejecting the contention that “by requiring appellant to rent available

rooms to Negroes against its will, Congress is subjecting it to involuntary servitude”).

       There is simply no question that Plaintiff—who had sufficient assets and income to

obtain a loan of over $1 million to purchase his house—is not being subjected to peonage

simply because Wings is requiring him to pay back the loans he used to purchase that

house, and Plaintiff’s relabeled claim for peonage fails for the same reasons as his initial

claims and the proposed amendment is futile.

       8. Adding a Claim for Unlawful Conversion (Count 6 in the proposed
          Amended Complaint).

       In his “new” count 6 for unlawful conversion, Plaintiff has simply relabeled his

initial Count 8, based on 18 U.S.C. § 1583 (Enticement into Slavery), initial Count 9, based

on 18 U.S.C. § 1584 (Sale into Involuntary Servitude), and initial Count 10, based on 18

U.S.C. § 1589 (Forced Labor), as a claim for unlawful conversion. Compare Doc. 1,

¶¶ 110–12, 114–19, 122–25, with Doc. 31-1, ¶¶ 106–18. The only change to the allegations

is in paragraph 112, which now alleges that: “While not originally legally theft, that

transaction was not equal consideration. Now that the blank indorsement has gone through

rescission, these negotiable instruments are now stolen.” See Doc. 31-1, ¶ 112 (additions

are underlined).




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       “Conversion requires (1) willful interference with the property of another, (2)

without lawful justification, that causes (3) the lawful possessor to be deprived of use and

possession of the property.” Petsche v. EMC Mortg. Corp., 830 F. Supp. 2d 663, 673 (D.

Minn. 2011) (citing DLH, Inc. v. Russ, 566 N.W.2d 60, 71 (Minn. 1997)). As with his other

claims, Plaintiff’s claim for conversion is based on a universally rejected conspiracy theory

often referred to as the “vapor money” theory. The vapor money theory posits “that

promissory notes (and similar instruments) are the equivalent of ‘money’ that citizens

literally ‘create’ with their signatures.” McLaughlin, 726 F. Supp. 2d at 212.

       Bolstering this argument (at least for its adherents) is the fact that once
       received, banks typically deposit promissory notes into their own accounts
       and list them as assets. Then, according to the vapor money theory, the bank
       purports to lend the ‘money’ that was “created” by the citizen's signature
       back to the citizen-borrower.

Id.

       Plaintiff’s Complaint and proposed Amended Complaint rely on a form of the

“vapor money” theory, under which Plaintiff apparently believes that by sending Wings

documents containing his signature and specific language (which he refers to as a “special

indorsement”), he can then convert various documents, including the notes underlying the

Mortgage and HELOC, an additional “promissory note” he created, and the monthly billing

statements sent by Wings (which he claims are “bills of exchange”) into “negotiable

instruments,” which he can then use as payments to satisfy his debts to Wings. See Doc.

No. 31-1 ¶¶ 23, 30–34, 106–07, 116–17; see also footnote 1, supra; Doc. No. 31-1, ¶ 122.

As Wings explained in briefing on its prior motions, federal courts have widely and

universally rejected the theories underlying Plaintiff’s allegations for decades, and


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Plaintiff’s proposed amendment is thus futile. See McLaughlin, 726 F. Supp. 2d at 214

(rejecting plaintiff’s claims under the “Redemptionist” theory, the “vapor money” theory;

and the “unlawful money” theory, and noting “all three of these theories have been

universally and emphatically rejected by numerous federal courts for at least the last 25

years”); Harp v. Police, No. 23-2577, 2023 U.S. Dist. LEXIS 139418 (E.D. Pa. Aug. 10,

2023) (“[O]ther courts nationwide have rejected such ‘frivolous’ attempts to satisfy a debt

through a fictitious ‘bill of exchange.’”); Rabbe v. Wells Fargo Home Mortg., Inc., No.

8:17-CV-131, 2017 U.S. Dist. LEXIS 88910, at *4 (D. Neb. June 9, 2017) ( “The plaintiffs’

particular permutation is commonly referred to as a ‘vapor money’ or an ‘unlawful money’

claim, and has been uniformly rejected by every court to consider it.”); Hennis v. Trustmark

Bank, 2010 U.S. Dist. LEXIS 45759, *16 (S.D. Miss. May 10, 2010) (“From coast to coast,

claims that debts have been paid under the redemption theory by the plaintiffs’ issuance of

‘bills of exchange’ have been dismissed as frivolous.”); see also Demmler v. Bank One NA,

2006 U.S. Dist. LEXIS 9409, *3 (S.D. Oh. Mar. 9, 2006) (explaining that [w]hile a

promissory note may be a negotiable instrument, the note itself is not ‘money.’ It is nothing

more than the acknowledgment of a debt and a promise to repay the debt at some date in

the future”).

       9. Adding a Claim for Unjust Enrichment.

       Finally, Plaintiff relabels his initial Count 11, based on 18 U.S.C. § 1593A

(Benefitting Financially from Peonage, Slavery, and Trafficking in Persons), as a claim for

unjust enrichment. Compare Doc. 1, ¶¶ 128–32, with Doc. 31-1, ¶¶ 120–24. The only

changes to the allegations are to add “unknowingly” before “released with a blank


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indorsement,” compare Doc. 1, ¶ 129, with Doc. 31-1, ¶ 121, and make two changes to

paragraph 124 so it now reads: “Due to lack of terms and communications, it is assumed

that WINGS intends to entice its beneficiaries into peonage for financial gain by having

them fund their own loans,” compare Doc. 1, ¶ 132, with Doc. 31-1, ¶ 124

(additions/changes underlined).

       “In order to establish a claim for unjust enrichment, the claimant must show that

another party knowingly received something of value to which he was not entitled, and that

the circumstances are such that it would be unjust for that person to retain the benefit.”

Schumacher v. Schumacher, 627 N.W.2d 725, 729 (Minn. App. 2001). Importantly, “[a]n

action for unjust enrichment does not lie simply because one party benefits from the efforts

of others; instead, it must be shown that a party was unjustly enriched in the sense that the

term 'unjustly' could mean illegally or unlawfully.” Id. (quotation omitted).

       As explained in prior briefing and the proceeding sections, Plaintiff’s allegations

are based on a widely and universally rejected conspiracy theory and can be rejected on

that basis alone. Put simply, there is no credible argument that Wings was unjustly enriched

by requiring Plaintiff to comply with the terms of his loans and repay to Wings the money

he borrowed. Moreover, as the loans are governed by enforceable contracts that provide

the repayment terms, there can be no action for unjust enrichment. See Caldas v. Affordable

Granite & Stone, Inc., 820 N.W.2d 826, 838 (Minn. 2012) (explaining that unjust

enrichment “does not apply when there is an enforceable contract that is applicable”). As

with the other changes, Plaintiff’s proposed Amended Complaint is futile, and this Court

should deny Plaintiff’s motion.


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                                  CONCLUSION

      For the foregoing reasons, Plaintiff’s Motion for Leave to Amend Plaintiff’s

Complaint for Damages is procedurally improper and meritless and must be denied.

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